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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION



BAKER DC, LLC.,                                    :       Case No. 1:17-cv-530
                                                   :
          Plaintiff,                               :       Judge Susan J. Dlott
                                                   :
    v.                                             :       ORDER ON CROSS MOTIONS FOR
                                                   :       SUMMARY JUDGMENT
R. ALEXANDER ACOSTA, Secretary,                    :
United States Department of Labor, et al.,         :
                                                   :
          Defendants.                              :


           This matter is before the Court on cross motions for summary judgment. Defendants

filed a Motion for Summary Judgment, (Doc. 12), which Plaintiff opposed, (Doc. 17). Plaintiff

filed a Motion for Summary Judgment, (Doc. 13), which Defendants opposed (Doc. 16). All

parties filed replies. (Docs. 18, 19.)

           For the reasons set forth below, the Defendants’ Motion for Summary Judgment, (Doc.

12), is DENIED as to Plaintiff’s Fourth Amendment claim and GRANTED as to Plaintiff’s

Paperwork Reduction Act Claim. The Plaintiff’s Motion for Summary Judgment, (Doc. 13), is

GRANTED on the Fourth Amendment claim and DENIED on the Paperwork Reduction Act

claim.

     I.        BACKGROUND

     A. Facts1

           The United States Department of Labor, Office of Federal Contractor Compliance

Programs (“OFCCP”) ensures that covered federal contractors and subcontractors comply with


1
 The facts are taken from the ALJ’s Recommended Decision and Order Enforcing Onsite Review. (ALJ Decision,
Doc. 9-2 at PageID 1440–61.)

                                                       1
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legal requirements under Executive Order 11246, Section 503 of the Rehabilitation Act of 1973,

29 U.S.C. § 793, and the Vietnam Era Veterans’ Readjustment Assistant Act, 38 U.S.C. § 4212,

to take affirmative action and not discriminate based on race, color, sex, sexual orientation,

gender identity, religion, national origin, disability, or status as a protected veteran. (PageID

1454.) Through its Mega Construction Project (“MCP”) program, OFCCP attempts to maximize

limited resources by inspecting and reviewing federal and federally-assisted construction

contractor and subcontractor compliance on particular projects.2

         OFCCP gathers “prescheduling information” including information related to “the

current projects underway, number of employees, duration of the projects, and other basic

information . . . to determine if OFCCP has jurisdiction for scheduling a construction review.”

(PageID 1449.) Once jurisdiction is confirmed, OFCCP conducts an onsite review, beginning

with an entrance conference with a top company official or delegate “to educate the

subcontractor on what is expected during the compliance evaluation.” (PageID 1448.) OFCCP

interviews management personnel, and “[t]hen using a list of current projects where there are

employees, OFCCP determines which construction sites to visit to conduct employee

interviews.” (PageID 1451–52.) OFCCP also requests documents and establishes a date the

documents will be submitted. (PageID 1452.)

         On September 30, 2014, the General Services Administration awarded Grunley

Construction Company a $139 million contract to renovate a building on the St. Elizabeths West

Campus in Washington, D.C. (PageID 1442.) OFCCP selected this project as a MCP, and

Grunley Construction agreed to participate in OFCCP’s MCP program. (Id.) For selected

MCPs, the prime contractor is always scheduled for a compliance review, and the subcontractors


2
 To be selected as a MCP, the project must have a value of at least $25 million and a duration of at least one year.
(PageID 1442, fn. 4.)

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become eligible for scheduling once they have worked on the MCP for three months. (PageID

1450.) Subcontractors are scheduled for compliance review in the order in which they reach the

three month mark “unless [OFCCP] had received credible reports of discrimination, in which

case they would move up the list.” (PageID 1451.)

        At an OFCCP outreach event on February 9, 2015, some individual attendees complained

to OFCCP Assistant District Director Tanya Bennett about Baker DC’s treatment of African

American employees. (PageID 1446.) In addition, one person telephoned Ms. Bennett after the

event to make five specific allegations of discrimination, (id.), but no formal complaints were

filed against Baker DC by any of the oral complainants. (PageID 1451.)

        In June and September 2015, Grunley Construction awarded federal subcontracts to

Baker DC—a concrete construction contractor—for the St. Elizabeths project for $100,000 and

$15 million, respectively. (PageID 1442.) Baker DC began working on the project in November

2015, and reached its three-month date at the end of January 2016. (PageID 1450.)

        In February 2016, OFCCP began scheduling compliance reviews for the relevant phase

of the St. Elizabeths MCP. (PageID 1444.) OFCCP provided a partially-redacted chart3

identifying the order in which construction contractors would be eligible for review, as follows:

#    Contractor                                          Month Reached 3            Date Scheduled for
                                                         Months’ Work               Review
1    Grunley Construction Co., Inc.                      Prime Contractor           2/29/16
2    Contractor #2                                       May 2015                   8/1/16
3    Contractor #3                                       May 2015                   8/1/16
4    Contractor #4                                       June 2015
5    Contractor #5                                       June 2015
6    Contractor #6                                       August 2015
7    Contractor #7                                       August 2015
8    Contractor #8                                       January 2016               2/29/16 (received
                                                                                    credible verbal
3
  The chart OFCCP provided appropriately redacted the names of other subcontractors. For clarity, we reproduce
the chart here using “Contractor #x” in place of redactions. (See PageID 1444.) There were four other contractors
who reached three months’ work in January 2016 who would have been listed below Baker DC on the chart. (Id.)

                                                        3
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                                                                      complaints followed by a
                                                                      formal complaint)
9 Contractor #9                                 January 2016
10 Baker DC                                     January 2016          3/17/16 (received
                                                                      credible verbal
                                                                      complaints)

       According to Tom Wells, the Director of the OFCCP Baltimore District Office, OFCCP

scheduled Grunley Construction first because it was the prime contractor. (PageID 1450.)

Contractor #8 and Baker DC were scheduled for review next because OFCCP received “credible

complaints of discrimination.” (Id.) Contractors #2 and #3 were scheduled after that “because

they were the next contractors to reach three months of work on the Mega Project.” (Id.) “Mr.

Wells explained that OFCCP schedules contractors for whom it receives credible complaints out

of order because such companies are of concern to OFCCP and its procedures.” (Id.) “OFCCP

has never received credible complaints of discrimination against a contractor and not moved

them up the list.” (PageID 1450–51.)

       Although no “formal complaints” had been filed with OFCCP regarding Baker DC, Mr.

Wells found the complaints made at and shortly after the outreach event “to be credible based on

the fact that OFCCP received the information from several people and there was specificity to

the complaints.” (PageID 1451.) He defined “credible” to mean “good reason to believe that the

statements could be true.” (Id.) Mr. Wells acknowledged that he did not speak to any of the oral

complainants, did not make any notes at the time of the complaints, and “does not know if any of

the complainants, besides one, worked for” Baker DC. (PageID 1452.) Mr. Wells did not

investigate the complaints at the time because “such determination would have been done

through the compliance review OFCCP sought to conduct.” (Id.)

       OFCCP notified Baker DC it had been selected for compliance review, and Baker DC’s

attorney contacted Mr. Wells “to obviate the need for an entrance conference.” (PageID 1442.)

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At OFCCP’s request, Baker DC’s attorney arranged for an OFCCP compliance officer to

interview Baker DC’s Corporate Compliance Manager and two other managers via telephone.

(Id.) OFCCP then requested specific documents4 “as part of an on-site review and on-site

employee interviews to be conducted,” but Baker DC—through counsel—denied those requests.

(Id.) OFCCP issued a “Notice to Show Cause” for its denial of access to its Washington, D.C.

worksites, but Baker DC refused to allow entrance. (Id.)

     B. Procedural Posture

         On January 13, 2017, OFCCP filed a complaint with the United States Department of

Labor, Office of Administrative Law Judges, alleging that Baker DC refused to supply records

and permit an on-site compliance review in violation of Executive Order 11246, Section 503 of

the Rehabilitation Act of 1973, 29 U.S.C. § 793, and VEVRA, 38 U.S.C. § 4212. The ALJ

conducted a hearing on May 23, 2017, and issued a Recommended Decision and Order

Enforcing Onsite Review. (Doc. 9-2 at PageID 1440–61.) The ALJ resolved all legal issues in

OFCCP’s favor, and concluded that an onsite compliance review had begun on May 11, 2016,

with OFCCP’s telephone interview of Baker DC’s managers. (PageID 1458.) Baker filed

exceptions to the ALJ’s Recommended Decision before the Department of Labor’s

Administrative Review Board. (PageID 1505–33.) The Administrative Review Board did not

issue a final order within 30 days of the time for filing exceptions so the ALJ’s Recommended

Decision and Order became a final administrative order on the 31st day, pursuant to 41 C.F.R. §

60-30.37. Baker then appealed the final administrative order to this Court pursuant to the APA.

This matter is now before the Court on Plaintiff’s and Defendants’ Motions for Summary

Judgment (Docs. 12 and 13).


4
  The requested documents included an employee roster, list of active projects, payroll records, and applicant
tracking data. (PageID 1442, fn. 5.)

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   II.       STANDARD OF REVIEW

          When reviewing a final administrative order under the APA, “the usual rules governing

summary judgment do not apply.” Integrity Gymnastics & Pure Power Cheerleading, LLC v.

U.S. Citizenship and Immigration Servs., 131 F.Supp.3d 721, 725 (S.D. Ohio 2015) (citing City

of Cleveland v. Ohio, 508 F.3d 827 (6th Cir. 2007)). Rather, a district court is to determine only

whether the agency’s decision was “arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with the law.” 5 U.S.C. § 706(a)(2). “A determination of whether an agency’s

action was arbitrary, capricious, or an abuse of discretion must be made on the basis of the

administrative record.” Integrity Gymnastics, 131 F.Supp.3d at 726; 5 U.S.C. § 706; Trinity

Industries, Inc. v. Occupational Safety and Health Review Comm’n., 16 F.3d 1455 (1994).

“[O]ur review of the ALJ’s factual determinations is limited to determining whether those

determinations are supported by substantial evidence on the record as a whole—not whether

there was substantial evidence in the record for a result other than that arrived at by the ALJ.”

Steeltech, Ltd. v. United States E.P.A., 273 F.3d 652, 657 (6th Cir. 2001). The Court reviews

“questions of law de novo, though some deference may be owed where the agency is reasonably

interpreting the statutes it is charged with administering.” R/T 182, LLC v. F.A.A., 519 F.3d 307,

309 (6th Cir. 2008)

   III.      ANALYSIS

   A. Fourth Amendment Right to be Free from Unreasonable Searches and Seizures

          Plaintiff appeals the ALJ’s Order Enforcing Onsite Review alleging that the warrantless

search violates Plaintiff’s Fourth Amendment right to be free from unreasonable searches and

seizures. Defendants counter that Plaintiff was selected for review using a neutral administrative




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plan applicable to all subcontractors working on federally-funded mega construction projects,

and, therefore, the Fourth Amendment requirements have been satisfied.

       “[T]he Fourth Amendment prohibition against unreasonable searches protects against

warrantless intrusions during civil as well as criminal investigations.” Marshall v. Barlow’s,

Inc., 436 U.S. 307, 312, 98 S.Ct. 1816 (1978). “The businessman, like the occupant of a

residence, has a constitutional right to go about his business free from unreasonable official

entries upon his private commercial property.” Id. However, “probable cause in the criminal

law sense is not required.” Id. at 320. Rather, administrative probable cause may be based on

either “specific evidence of an existing violation” or on a showing that “reasonable legislative or

administrative standards for conducting an . . . inspection are satisfied with respect to a particular

establishment.” Barlow’s, 436 U.S. at 325. A business chosen for inspection “on the basis of a

general administrative plan for the enforcement of the Act derived from neutral sources . . .

would protect an employer’s Fourth Amendment rights.” Trinity Indus., Inc. v. Occupational

Safety and Health Review Comm’n., 16 F.3d 1455, 1460 (6th Cir. 1994) (quoting Barlow’s, 436

U.S. at 320–21). Thus, “[a] permissible administrative plan relies on ‘either random selection or

selection by relevant statistics that have no individual human component for the reason that

searches flowing from these types of plans could not be the product of an agency’s arbitrary

decision.’” Eng’g. & Mfg. Servs., LLC v. Ashton, 387 Fed. App’x. 575, 585 (6th Cir. 2010)

(citing Trinity Indus., 16 F.3d at 1463 (Batchelder, J., concurring)).

       The key requirement, as the parties agree, is that the administrative plan be “derived from

neutral sources.” See Trinity Ind., 16 F.3d at 1460. “Because administrative and legislative

guidelines ensure that employers selected for inspection pursuant to neutral administrative plans

have not been chosen simply for the purpose of harassment, courts have held that administrative



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plan searches may properly extend to the entire workplace.” Id. (citing Donovan v. Sarasota

Concrete Co., 683 F.2d 1061, 1068 (11th Cir. 1982) (emphasis added)).

       An administrative plan that selects companies for inspection based solely on working on

a federally-funded contract for three months would be “derived from neutral sources.” To the

contrary, a plan triggered by an employee complaint would not meet the neutrality requirement.

Trinity Industries, 16 F.3d at 1460. The issue here, then, is whether a plan that selects companies

for inspection based on the neutral criteria of three months’ work loses the required neutrality by

inspecting first those companies against whom a “credible complaint” has been made. The Court

concludes that the answer to that question depends on whether all of the eligible companies are

actually inspected.

       In the case at bar, OFCCP uses neutral selection criteria—three months’ work on a

MCP—to compile a list of contractors eligible for full compliance review. Those companies are

inspected based on the date upon which each contractor reaches the three months’ work mark.

At that point the process is still neutral. However, an individual enforcement officer moves any

contractors against whom a “credible complaint” has been made to the earliest possible

inspection dates. (PageID 1450–52.)

       If, as in Indus. Steel Prod. Co. v. Occupational Safety & Health Admin., 845 F.2d 1330,

1334 (5th Cir. 1988), “[a]ll firms within a cycle will be inspected in the space of several months

in any case,” then “[r]earranging their order within the cycle is not discriminatory.” However,

the facts of this case—as determined by the ALJ—do not demonstrate that all subcontractors

within a project will ultimately be inspected. To the contrary, OFCCP’s brief acknowledges that

it “has not yet had the resources available to schedule all subcontractors who had worked for

three or more months on the St. Elizabeths project.” (PageID 1661.) Indeed, the evidence before



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the ALJ indicated that only four of the 13 eligible subcontractors had been scheduled for review.

(PageID 1444.)

       This case, therefore, is similar to Eng’g. & Mfg. Servs., 387 Fed. App’x. at 575. There, a

legislative plan to ensure fire safety called for inspection of commercial buildings annually—a

neutral source requirement. However, the evidence indicated that while annual inspections were

a goal, only a small number of commercial buildings were actually inspected annually due to

limited resources, leaving enforcement officers to select the specific buildings to be inspected

each year. Id. at 585. The Court concluded, “[T]he Fire Department’s administrative plan for

annual inspections has human input and components and is thus not neutral.” Id.

       In the case at bar, OFCCP—like the Fire Department in Engineering & Mfg. Services—

has a laudable goal and a facially neutral administrative plan. However, because neither OFCCP

nor the Fire Department in Engineering & Mfg. Servs. has the resources to inspect every

company that qualifies for a compliance review, the order in which the businesses are scheduled

for inspection actually determines whether the business will be selected for inspection at all.

OFCCP bases the order on which a contractor will be inspected—once it has qualified for

inspection by working three months on an MCP—entirely on an enforcement officer’s

determination that a “credible complaint” has been filed against it. (PageID 1450–51.) An

individual enforcement officer moves any contractors against whom a “credible complaint” has

been made (whether that complaint is formal or informal, oral or written, verified or unverified,

from an employee or an outsider, or before or after the contract was awarded) to the earliest

possible inspection dates, thereby effectively selecting the contractor for review. (PageID 1450–

52.) In practice, the administrative officer in the field enjoys the “almost unbridled discretion . . .

as to when to search and whom to search,” that the United States Supreme Court sought to limit



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in Barlow’s. Accordingly, OFCCP’s administrative plan—as administered—is not sufficiently

neutral to comply with Fourth Amendment requirements, and the Plaintiff is entitled to summary

judgment on this issue.

   B. The Paperwork Reduction Act Does Not Apply

       Plaintiff’s second count alleges that OFCCP’s request to review documents violated the

Paperwork Reduction Act (“PRA”), 44 U.S.C. § 3501, et seq. The PRA “gives the Office of

Management and Budget the responsibility for ensuring that certain agency information requests

are not unduly burdensome.” United Space Alliance, LLC v. Solis, 824 F.Supp. 2d 68, 94

(D.D.C. 2011). The PRA provides, in relevant part:

               (a) Notwithstanding any other provision of law, no person shall be
               subject to any penalty for failing to comply with a collection of
               information that is subject to this subchapter if--
               (1) the collection of information does not display a valid control
               number assigned by the Director in accordance with this
               subchapter; or
               (2) the agency fails to inform the person who is to respond to the
               collection of information that such person is not required to
               respond to the collection of information unless it displays a valid
               control number.

44 U.S.C.A. § 3512(a). The PRA specifically exempts agency administrative actions or

investigations involving specific entities. 44 U.S.C.A. § 3518(c)(1)(B)(ii).

       Quite simply, OFCCP’s document requests are not “a collection of information” within

the meaning of the PRA. OFCCP attempted to begin the administrative audit as usual where a

“compliance officer interviews the CEO or facility director and HR personnel and asks for

records pertaining to employment activity.” (PageID 1449.) OFCCP District Director “wrote an

email requesting several items from [Baker DC]; the document request was made by email

because [Baker DC] notified OFCCP that there would not be anyone at the physical location and

so the onsite phase of the review was initiated telephonically.” (PageID 1452.) An OFCCP

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compliance officer “conducted a ‘virtual’ onsite via telephone on May 11, 2016 during which

she interviewed” Baker DC management and human resources personnel. (PageID 1449.) The

compliance officer requested specific documents during the May 11, 2016 interview “because

[Baker DC] told us not to come onsite.” (Id.)

         Baker DC makes much of the fact that an “onsite” review never began because OFCCP

personnel did not physically enter its property, but that argument is irrelevant to its PRA claim.

There is no question from the record before the ALJ that OFCCP requested the documents

specifically of Baker DC as part of its attempted administrative compliance review. Thus, the

PRA does not apply, and the Defendants are entitled to summary judgment on Plaintiff’s PRA

claim.

   IV.      CONCLUSION

         For the foregoing reasons, the Defendants’ Motion for Summary Judgment, (Doc. 12), is

DENIED as to Plaintiff’s Fourth Amendment claim and GRANTED as to Plaintiff’s PRA

Claim. The Plaintiff’s Motion for Summary Judgment, (Doc. 13), is GRANTED on the Fourth

Amendment claim and DENIED on the PRA claim.



         IT IS SO ORDERED.

         Dated: April 6, 2018                 S/Susan J. Dlott_______________________
                                              Judge Susan J. Dlott
                                              United States District Court




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